Case 9:Ol-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 1 of 26

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA _,."

 

WEST PALM BEACH DIVISION ‘-:;‘.\ v §
'(_:_\". '_.l/l
Case NO. 01-9013-ClV.-RYSKAMP ':`_<§ ”"
Magistrate Judge Vitunac ':'

LuZ-Carranza, e_t. a_l., ,
individually and on behalf of v,: j*`~,
all others similarly situated,

Plaintiffs,
vs.

l\/Iecca Farms, Inc., e_t. a_l.,

Defendants.
/

 

PLAINTIFFS AND DEFENDANTS MARIA T. SANCHEZ AND M. SANCHEZ & SON,
INC. JOINT MOTION F()R PRELIMINARY APPROVAL OF SETTLEMENT
AND SUPPORTING MEMORANDUM OF LAW

The Plaintiffs and Defendants Maria T. Sanchez and M. Sanchez & Son, lnc. (hereafter
“Sanchez" and “M. Sanchez” respectively) have reached agreement on a proposed settlement of
this action and hereby jointly move the Court pursuant to Rule 23(b)(3) of the Federal Rules of
Civil Procedure for an 0rder:

l. Certifying a Settlement Class as follows: All migrant and seasonal agricultural
workers furnished to Mecca Farms, Inc. by M. Sanchez & Son, Inc., l\/Iaria T, Sanchez, or
Rogerio T. Rodriguez from August 1997 through November 2001, inclusive.

2. Conditionally approving the proposed settlement as set forth in the Settlement
Agreement, a copy of which is attached hereto as Exhibit “F.”

3. Directing the Plaintiff to provide notice to the class members

4. Approving the notices to be published in Spanish language publications and on

 

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 2 of 26

Spanish language radio stations as attached as Exhibits “B-E” (in the English language)

5. Holding a Fairness Hearing on April l, 2003 at 9100 AM, jointly with the Fairness
Hearing on the Plaintiffs’ settlement agreement with Defendant Mecca in the same matter, to
determine whether the settlement should be finally approved by the Court and judgment entered.

ln making this Motion, counsel for the respective settlement parties stipulate and
represent to the Court:

l. That the Settlement Agreement was reached through extensive arms~length
negotiations between counsel for the Plaintiff and counsel for Sanchez and M. Sanchez.

2. That Plaintiffs’ counsel represent that they are experienced in the representation of
farmworkers in civil matters and are Well qualified to evaluate the fairness of the proposed
settlement on behalf of the members of the class.

3. That the Settlement Agreement is fair, reasonable, and adequate as to the members of
the class in light of the corrective actions promised by the Defendants, as compared to the
uncertainties of litigation of these claims, and the significant cost, time, and efforts this litigation
would entail on behalf of all parties, regardless of the outcome.

4. That the Settlement Agreement represents the proposed compromise of disputed
claims and in no way constitutes an admission of liability by Sanchez or M. Sanchez with respect
to any of the material allegations of the Complaint and Amended Complaint. Nor does it
constitute an admission by the Plaintiffs that they would not ultimately prevail on the merits
should these claims go to trial.

For the reasons stated, we respectfully request that the Settlement Agreement be

conditionally approved, the proposed notice be ordered to be published, and the other provisions

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 3 of 26

of this Joint Motion be granted

MEMORANDUM OF LAW
A. Introduction

To conclude the Settlement outline above as it pertains to the Court contained in this
action under the Migrant and Seasonal Agricultural Worker Protection Act, Rule 23(e_) of
Fed.R.Civ.P. requires that there be notice to the Settlement Class, a fairness hearing, and this
Court’s approval. Before scheduling a fairness hearing and ordering notice to the Settlement
Class, this Court must be presented with a settlement that warrants implementing Rule 23(e)
procedures The purpose of obtaining preliminary approval “is to ascertain whether there is any
reason to notify the class members of the proposed settlement and proceed with the fairness
hearing.” Armstrong v. Bd. of School Directors, 616 F.Zd 305, 314 (7“‘ Cir. 1980).

In determining whether to preliminarily approve a class action settlement, the court
assesses whether there is “probable cause” to provide notice and hold a fairness hearing In_re
Mid-Atlantic Tovota Antitrust Litig., 564 F.Supp. 1379, 1385 (`D.Md. 1983). An inquiry into the
ultimate fairness of the Settlement is not necessary at this point, since there will be a further
hearing at which the fairness of the Settlement will be addressed, after notice to the Settlement
Class. Consequently, even if there are aspects of a proposed class action settlement that raise
questions, they “should not derail the orderly Workings of the settlement process at this point.”
I_d. at 1386. Preliminary approval should be denied only if there are apparent grounds to doubt
the fairness of the settlement, or other “obvious deficiencies,"` none of which exist here, as

discussed below. Manuel for Complex Litig., §3().41 (3d ed. 1993). See also H. Newberg,

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 4 of 26

Newberg on Class Actions, §l l.25 at 11-37 (3d ed. 1993) (settlement should be preliminarily
approved as long as it is within the range of possible judicial approval).
B. The Terms of the Settlement

Since the filing of the Complaint and Amended Complaint, the Plaintiffs and Sanchez
and M. Sanchez have worked to resolve this matter. The Settlement Agreement reflects that
Sanchez and M. Sanchez agree to: file W-2 forms or amended W~2 forms With the government
for the class representatives and class members who were employed by them between August
1997 and November 2001, inclusive and who request such filing; provide to counsel for the
Plaintiffs any and all records in their possession, custody or control relating to their work for or
services they have provided to Mecca between 1997 through 2001, inclusive; and assign to the
Plaintiffs any and all sums held in trust or otherwise due and owing to them by Mecca Farms,
Inc. (“Mecca”) for services provided prior to June l, 2002. In exchange, the Plaintiffs and
putative Class members agree to voluntarily waive, release, and forever discharge Sanchez and
M. Sanchez for the claims alleged in the Amended Complaint.

The Settlement, which was reached after extensive arms-length negotiations between
counsel with the duty of vigorously representing their clients, clearly meets the standard for
preliminary approval. The dollar amount is, in and of itself, sufficient to meet the low threshold

requirement for preliminary approval.

C. The Settlement Should be Preliminarily Approved as Fair,
Reasonable, and Adequate

Judicial approval of class action settlements requires a two-step process. In the first step,

the court makes a preliminary decision as to whether the settlement falls “Within the range of

4

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 5 of 26

possible judicial approval.” H.Newberg, Newberg on Class Actions, §l l.25 at ll-37 (3d ed.
1993). Gnce the settlement is found to be within the range of possible approval, a final approval
hearing is scheduled and notice is provided to the class. l_d. The second step involves final
determination, following a hearing at which pertinent evidence and any objections by Class
members may be considered, whether the settlement is fair, reasonable, and adequate from the
standpoint of the class. ld; at §l l.4l. On the instant Motion, the Court is presented with the

initial matter of preliminarily evaluating the Settlement.

In Warren v. City of Tampa, 693 F.Supp. 1051, 1054 (M.D. Fla. 1988), aff’d, 893 F.2d

 

347 (l l‘h Cir. 1989), the district court described its review of class action settlements as follows:

The Court initially recognizes the principle that settlements are highly favored in

the law. Miller v. Republic Nat’l Life Ins. Co., 559 F.2d 426 (5th Cir. 1977). The

Court is required to make a two part determination that: l) there is no fraud or

collusion in reaching settlement, and 2) the settlement is fair, adequate, and

reasonablel Accord Benett v. Behring COrD., 737 F.2d 983 (l l'h Cir. 1984). The

evaluation of whether a settlement is fair, reasonable and adequate is committed

to the sound discretion of the trial court.

I_d. at 987. §§ also EX Parte First National Bank of Jasper, 1997 Ala. Lexis 475 at *7-8
(Ala. 1997) (Settlement classes “promote the strong policy favoring settlements.”).

ln making this determination, the trial court is entitled to rely upon the judgment of
experienced counsel for the parties Behrens v. Wometco, 118 F.R.D. 534,538 (S.D. Fla. 1988),
aff`d, 899 F.2d 21 (llth Cir. 1990). Moreover, there is a strong initial presumption that the
compromise is fair and reasonable In re Chicken Antitrust Litig, 560 F.Supp. 998 (N.D. Ga.
1980), aff’d, 669 F.2d 228, 238. Accordingly, courts exercise restraint in examining proposed

settlements and recognize that settlements, by definition, are compromises that need not satisfy

every concern of the parties but may fall anywhere within a broad range of upper and lower

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 6 of 26

limits

ln lieu of a more extended inquiry into the claims asserted, courts have concentrated on
the negotiating process by which the settlement was reached Weinberger v. Kendrick, 698 F.2d
61, 74 (2d Cir. 1982), corrected on other grounds on reh’g` [1982-1983 Transfer Binder]
Fed.Sec.L.Rep. (CCH) 1190,074 (Zd Cir.), cert. denied, 464 U.S. 818 (1983). The courts insist
that a settlement be the result of “arm’s length negotiations” effected by counsel possessing the
“experience and ability . . . necessary to effective representation of the class’ interests.”
Weinberger, 698 F.2d at 74 (citation omitted). Once counsel’s experience is established, courts
give such counsel’s “opinion . . . supporting the settlement . . . ‘considerable weight.”’ l_n£
Saxon Sec. Litig., [1985-1986 Transfer Binder] Fed.Sec.L.Rep. (CCH) 1192,414 at 92,525
(S.D.N.Y. 1985). This is done because courts recognize that “the parties’ counsel are best able to
weigh the relative strengths and weaknesses of their arguments.” I_d.

As discussed above, the Settlement was reached after extensive arms-length negotiations
between counsel. As in the litigation itself, both sides aggressively presented their positions, and
the negotiations required continuous efforts over a number of months to bear fruit. There was
nothing collusive about any of the settlement negotiations or the ultimate agreement reached.
The Settlement Agreement is fully supported and recommended by counsel for all parties There
are no terms in the Settlement that militate against preliminary approval.

The value of the settlement is enhanced by the fact that it will be provided to Class
members now, without the delay, burden, and risks of continued litigation Once this Court
approves the Settlement Agreement, this litigation should be concluded, with the exception of the

filing of the necessary W-2 forms for the specified Class members

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 7 of 26

D. Conclusion

For the reasons set forth above, the Plaintiffs and Sanchez and M. Sanchez respectfully
request that this Court grant preliminary approval of the Settlement, preliminarily certify a
settlement class, and direct that Notice and Settlement Agreement be published in the forms
submitted with the Settlement Agreement in anticipation of a final fairness hearing to be held by
the Court, at which time the Court will determine whether the Settlement is fair, reasonable, and
adequate, and in the best interests of the putative Class.

Dated this ’ § "“day of March, 2003.

Respectfully submitted,

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Cathleen D. Caron

Florida Bar No. 0468266
Gregory S. Schell

Florida Bar No. 287199

Lillian Hirales

Florida Bar No. 533777

Migrant Farmworker Justice Project
508 Lucerne Avenue

Lake Worth, FL 33460
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Email: lillian@floridalegal.org

Attomeys for Plaintiffs

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Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 8 of 26

"" WQ;M, wm wm

Don R. Boswell, Esq. /

Akers & Boswell_, P.A.

2875 South Ocean Boulevard, Suite 200
Palm Beach, FL 33480

Facsimile: 561-547-3955

Attomey for Maria T. Sanchez and
M. Sanchez & Son, Inc,

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a true and accurate copy of the foregoing has been delivered
via U.S. mail, postage pre-paid, to Henry Wulf, Esq., Carlton Fields, 222 Lakeview Avenue,
Suite 1400, West Palm Beach, FL 33401-6149, on the /..7 day of March, 2003.

/

Cathleen Caron

 

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 9 of 26

EXHIBIT “A”

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

Case No. 01-9013-CIV.-RYSKAMP
Magistrate Judge Vitunac

Luz-Carranza, e_t. al.,

individually and on behalf of

all others similarly situated,
Plaintiffs,

vs.

Mecca Farms, lnc., e_t. a_l.,

Defendants.
/

 

ORDER ON MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
BETWEEN PLAINTIFFS AND DEFENDANTS MARIA T. SANCHEZ AND M.
SANCHEZ & SONJ INC.

This cause having come before this Court on the joint motion of Plaintiffs and
Defendants Maria T. Sanchez and M. Sanchez & Son, lnc. (hereafter "Sanchez" and “M.
Sanchez" respectively) for the entry of an order relating to the settlement of this action between
said parties; the Plaintiffs maintaining that individually and as class representatives that they
would ultimately prevail on all issues in this action, but deeming the proposed settlement set
forth in the Settlement Agreement filed with the motion as Exhibit “F” to be in the best interest
of themselves and the class and consenting to the entry of the following order_; Sanchez and M.
Sanchez deny all liability and maintaining that it would ultimately prevail on all issues in this

action, but deeming said settlement to be in their best interest and consenting to the entry of this

order; and the Court being fully advised in the premises and approving the procedures set forth

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 10 of 26

herein;

IT IS HEREBY ORDERED that:

The Settlement Agreement executed by the aforementioned parties is hereby tentatively
approved, based on this Court’s finding that there has been a showing that the Settlement is fair,
reasonable, and sufficient to warrant submitting it to the class, and that the Settlement was
reached by extensive arms-length negotiations between counsel for the aforementioned parties

IT IS FURTHER ORDERED that:

l. The parties shall take all actions required by the Settlement and those relating to the
consummation of said Settlement.

2. The class is hereby certified for purposes of the Settlement only, as follows: All
migrant and seasonal agricultural workers furnished to Mecca Farms, Inc. by M. Sanchez & Son,
Inc., Maria T. Sanchez, or Rogerio T. Rodriguez from August 1997 through November 2001 ,
inclusive.

3. The class will be notified of the Proposed Settlement as follows:

(a) The forms of class notice which are attached as Exhibits “B-E” are approved by

the Court. Plaintiffs’ counsel will publish the notices as set forth in the
Settlement Agreement.

(b) Plaintiffs’ counsel is authorized to respond to inquiries from Class members

concerning the Proposed Settlement.

(c) The Court finds that the notices provided constitute the best notice to the Class

practicable under the circumstances comports with due process, and is due and

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 11 of 26

sufficient notice for all purposes to all persons entitled to such notice.
4. The settlement notice will give all Class members the choice of opting out of the class
or remaining in the class The settlement notice will also explain the manner in which the Class

members may make a claim and the consequences of neither opting out nor making a claim.

IT IS FURTHF_R ORDERED that:

1. A hearing shall be held on April l, 2003 at 9:00 A.M., jointly with the Fairness
Hearing on the Plaintiffs’ settlement agreement with Defendant Mecca in the same matter, to
determine the lawfulness, reasonableness adequacy, and fairness of the proposed settlement, and
whether judgment should be entered as provided in the Settlement Agreement.

2. Any member of the Class who objects to the approval of the Proposed Settlement or to
the judgment to be entered thereon, may appear at the aforesaid hearing and show cause why the
Proposed Settlement should not be approved as fair, reasonable, and adequate, and why judgment
should not be entered thereon in accordance to the procedures described in the Settlement
Agreement.

DONE AND ORDERED in Chambers in West Palm Beach, Florida, this day of

2003.

 

 

KENNETH L. RYSKAMP
United States District Judge

copies furnished to:
counsel of record

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 12 of 26

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Lillian Hirales, Esq.

Gregory S. Schell, Esq.

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Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003

EXHIBIT B
UNITED STATES DISTRlCT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

Case No. 01-9013-CIV.-RYSKAMP
Magistrate Judge Vitunac

Luz-Carranza, e_t. a_l.,

individually and on behalf of

all others similarly situated,
Plaintiffs,

vs.

Mecca Farms, lnc., e_t. §Q.,

Defendants.
/

 

SUMMARY NOTICE OF PENDENCY OF ACTION.
CLASS ACTION NOTICE, PROPOSED SETTLEMENT OF CLASS ACTION1
AND SETTLEMENT HEARING

ATTENTION: ALL PERSONS WHO HAVE WORKED WITH THE FARM
LABOR CONTRACTORS ROY RODRIGUEZ, MARIA SANCHEZ, OR M.
SANCHEZ & SON, INC. PLANTING, CULTIVATING, OR HARVESTING
VEGETABLES BETWEEN AUGUST 1, 1997 AND NOVEMBER 19, 2001.

1. What is this Notice about?

This Notice is an official court notice to let you know about a "class action" lawsuit in
which you may be a class member if you have worked in the agricultural operations of
Mecca Farms, Inc. with the contractors Roy Rodriguez, Maria Sanchez, or M. Sanchez &
Son, Inc. between August 1, 1997 and November 19, 2001. lt also describes a proposed
settlement of the lawsuit and how you may claim your share of the settlement. If you do
not think the settlement is fair, you can object, and this Notice will tell you how to make
such an objection. Finally, it also informs you of your rights if you do not want to be a
member of the class

2. What is this "class action" lawsuit?

A "class action lawsuit" is a lawsuit in which a few people represent a large group of

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Page 13 of 26

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 14 of 26

people. They do that in an effort to resolve the similar legal claims of all the members of
the group at one time. Here, 8 workers (Delma Luz Carranza, Francelia Hernandez,
Virginia Perez, Carlos Ramos, Adolfo Perez, Gloria Roblero, David Matias, and Rafael
Gonzalez), have petitioned the court to represent “migrant and seasonal agricultural
workers furnished to Mecca Farms, lnc. by M. Sanchez & Son, lnc., Maria T. Sanchez, or
Rogerio T. Rodriguez from August 1997 through November 2001, inclusive.”

3. What is the lawsuit about?

The 8 workers who filed the lawsuit alleged that Mecca Farms, lnc. with the farm labor
contractors Roy Rodriguez, Maria Sanchez, and M. Sanchez & Son, lnc. violated certain
provisions of the federal Migrant and Seasonal Agricultural Worker Protection Act and
the F air Labor Standards Act. The lawsuit alleged that Mecca and the contractors failed
to pay the workers the minimum wage ($5.15) for all the hours worked by, among other
things, failing to pay for all the buckets of produce picked and making unlawful
deductions from the workers pay from August 1997 through November 2001. In
addition, the suit alleges that Mecca and the contractors failed to maintain accurate
payroll records and did not provide the workers with correct information on their wage
statements The Court has not decided whether the workers are correct on these claims
Mecca and the contractors deny any liability for these claims and any wrongdoing

4. What is the status of the lawsuit?

After negotiating, the workers, Mecca Farms, lnc., Roy Rodriguez, Maria Sanchez, and
M. Sanchez & Son, lnc. agreed to a proposed settlement of the lawsuit. Your rights
could be affected by this settlement so you should read this Notice carefully to
decide whether you want to be part of the class and you think the settlement is fair.

5. Class Certified for Purposes of Settlement Onlv

Solely for the purposes of this settlement, Mecca and the contractors have consented to
the certification of the class, as defined above. This means that the 8 workers that
brought the suit are representing, in the settlement agreement, the interests of thousands
of workers who worked on Mecca Farms’ operations with crews headed by Roy
Rodriguez, Maria Sanchez, and M. Sanchez & Son, lnc. between August 1997 and

November 2001.

6. What are the terms of the proposed settlement?

lf the Court approves the settlement that has been proposed, workers who file claims will
share in an Unlimited Joint Class Settlement fund. The fund is a joint fund because there
is another class action lawsuit being settled against Mecca Farms and the contractors who
furnish workers to its packing house operations

7. What will workers get under the settlement?

All workers who were employed by Roy Rodriguez, Maria Sanchez, or M. Sanchez &

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Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 15 of 26

Son, lnc., to work on the agricultural operations of Mecca between August 1997 through
November 2001 will be eligible to share in the settlement fund. Each eligible worker will
receive $5.00 per day for work in the fields lf there is verifiable proof that the social
security (FICA) taxes were paid for every day worked, the claimant will receive 50% less
per day than otherwise provided for. The worker will also have provide identification
and proof of employment with the Defendants.

8. Who else gets money from the settlement?

ln addition, Twenty Five Thousand Dollars ($25,000.00) will be donated to one or more
non-profit social service agencies which serve farmworkers in l\/lartin County or Palm
Beach County. Mecca Farms is also paying the Florida Legal Services Migrant
Farmworker Justice Project, the lawyers for the workers in this case an additional
$200,000.00 to pay the costs and fees they incurred to bring the two cases (for the field
workers and the packing house workers). The $200,000.00 is separate from and in
addition to what the workers will receive.

9. What are mv rights as a member of the "class"?

As a member of the class, you have the right to receive money from the settlement. By
receiving the money you are also giving up your rights to bring a separate claim against
Mecca Farms, lnc., Roy Rodriguez, Maria Sanchez, or M. Sanchez & Son, lnc. for having
violated the specific rights which are alleged in the lawsuit during the time period of
August 1997 through November 2001.

10. How do 1 make a claim as a class member?
TO CLAIM YOUR CLASS MONEY YOU MUST:

FILL OUT A CLAIM FORM BEFORE FEBRUARY l. 2004. TO OBTAIN A
CLAIM FORM CALL FLORIDA LEGAL SERVICES FARMWORKER
JUSTICE PROJECT AT 1-800-277-7447 OR GO TO ITS OFFICE AT 508
LUCERNE AVENUE-, LAKE WORTH, FLORIDA 33460 MONDAY THROUGH
FRIDAY BETWEEN 8:30 AM AND 5:00 PM.

lf you fail to make a claim and you do not “opt-out” as described in paragraph 11, you are
giving up your rights to ever bring an action against Mecca Farms, lnc., Roy Rodriguez,
Maria Sanchez, or M. Sanchez & Son, lnc. for the claims alleged in the lawsuit.

l l. How do l opt-out of this class action?

lf you do NOT want to participate in the class action, you have the right to be excluded
from the class and not receive any money from the settlement. lf you choose to be
excluded from the class, you will NEVER be able to make any claim for this settlement
money; however, you may have the right to bring your own lawsuit against Mecca Farms,
lnc., Roy Rodriguez, Maria Sanchez, or M. Sanchez & Son, lnc. within the time period
allowed under the law for the claims alleged in the lawsuit. You must opt-out before

3

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 16 of 26

July l, 2003, lf you fail to opt-out by July l, 2003, you are giving up your right to be
excluded from the class, which means that you can not bring a separate law suit for the
same claims alleged in the current law suit for the time period of August 1997 through
November 2001. lf you fail to opt-out you will be bound by the settlement agreement
and are eligible to file a claim for the settlement money. To be excluded from the class
action you must call the Florida Legal Services Farmworker Justice Project at 1-800-277-
7447 or go to its office at 508 Luceme Avenue, Lake Worth, Florida 33460 Monday
through Friday between 8:30 PM and 5:00 PM to fill out a form stating your desire to be
excluded from the class lf you choose to “opt-out” of the class action, you should
consult a lawyer as to your rights

12. What if l think the settlement agreement is unfair?

There will be a hearing before Judge Kenneth Ryskamp at on , 2003, at
the United States Courthouse, 701 Clematis Street, West Palm Beach, Florida 33401 to
decide whether the settlement is fair, reasonable and adequate lf you want to object to
the settlement you must file your objection with the Clerk of the Court before

2003, lf you do write the Clerk, at the United States Courthouse, 701 Clematis Street,
West Palm Beach, Florida 33401, you should include in your letter the name of the case
(Carranza v. Mecca Farms. Inc.) and the case number (01-9013). You must also send a
copy of your objections to Henry Wulf, Esq., Carlton Fields, 222 Lakeview Avenue,
Suite 1400, West Palm Beach, FL 33401, one of the attorneys for Mecca. This hearing
will be your only opportunity to object to the terms of the settlement.

You do Mt have to be present at the hearing to receive your class share of the
settlement money. If you fill out the form claiming your share of the settlement, you
will receive your class share, provided the settlement is approved,

13. F or further information:

lf you have questions about the settlement, need help understanding this Notice, or wish
to obtain a complete copy of the Settlement Agreement you can contact the lawyers for
the workers who brought the lawsuit by writing or calling:

Florida Legal Services

Migrant Farmworker Justice Project
508 Lucerne Avenue

Lake Worth, FL 33460

Telephone: 1-800-277-7447

DO NOT CALL THE COURT OR THE CLERK OF THE COURT

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 17 of 26

EXHIBIT C

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No.01-9096-Civ. Middlebrooks/Bandstra
Carmelina Martinez, _e_t a_l.,
individually and on behalf of
all others similarly situated,
Plaintiffs,
vs.

Mecca Farms, lnc., e_t a_l.,

Defendants.
/

 

SUMMARY NOTICE OF PENDENCY OF ACTIONJ
CLASS ACTION DETERMINATION AND NOTICEL
PROPOSED SETTLEMENT OF CLASS ACTIOHLAND SETTLEMENT HEARING

ATTENTION: ALL PERSONS WHO HAVE WORKED FOR MARIA MEDRANO OR
CANDIDO MUNOZ IN PACKING HOUSES IN LANTANA, FLORIDA PACKING
VEGETABLES BETWEEN OCTOBER 1, 1996 AND MARCH 1, 2002.

1. What is this Notice about?

This Notice is an official court notice to let you know about a "class action" lawsuit in which you
may be a class member if you have worked in packing houses in Lantana, Florida for Maria Medrano
or Candido Munoz packing vegetables between October l, 1996 and March 1, 2002. lt also
describes a proposed settlement of the lawsuit and how you may claim your share of the settlement.
If you do not think the settlement is fair, you can object, and this Notice will tell you how to make
such an objection. Finally, it also informs you of your rights if you do not want to be a member of
the class

2. What is this "class action" lawsuit?

A "class action lawsuit" is a lawsuit in which a few people represent a large group of people. They
do that in an effort to resolve the similar legal claims of all the members of the group at one time.
Here, the court has granted permission to 4 workers (Carmelina Martinez, Maria Ester Escobar

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 18 of 26

Torres, Maria lose Alarcon, and Luis Roca), to represent two classes consisting of “all migrant
agricultural workers employed or jointly employed by Defendant Mecca Farms, lnc., in Mecca
Farms’ tomato packing house from October 1996 through March 2002, inclusive” and “all migrant
agricultural workers employed or jointly employed by Defendant Mecca Farms, lnc., in Mecca
Farms’ pepper packing house from October 1996 through March 2002, inclusive.”

3. What is the lawsuit about?

The 4 workers who filed the lawsuit alleged that Mecca Farms, lnc. with the farm labor contractors
Maria Medrano, Medrano Harvesting & Packing, lnc., Candido Munoz, A-Z Grading & Packing,
lnc., Candido Packing, lnc., and Candido Munoz, lnc. violated certain provisions of the federal
Migrant and Seasonal Agricultural Worker Protection Act and the Fair Labor Standards Act. The
lawsuit alleged that Mecca and the contractors failed to pay the workers the minimum wage ($5. 15
and hour) for all the hours worked and overtime wages for the hours worked over forty hours in a
work week from October 1996 through March 2002. ln addition, the suit alleges that Mecca and the
contractors failed to maintain accurate payroll records and did not provide the workers with correct
information on their wage statements The Court has not decided whether the workers are correct
on these claims Mecca and the contractors deny any liability for these claims and any wrongdoing

4. What is the status of the lawsuit?

After negotiating, the workers, Mecca Farms, lnc., Maria Medrano, Medrano Harvesting & Packing,
lnc., Candido Munoz, A-Z Grading & Packing, lnc., Candido Packing, lnc., and Candido Munoz,
lnc. agreed to a proposed settlement of the lawsuit. Your rights could be affected by this
settlement so you should read this Notice carefully to decide whether you want to be part of
the class and you think the settlement is fair.

5. What are the terms of the p_roposed settlement?

lf the Court approves the settlement that has been proposed, workers who file claims will share in
an Unlimited Joint Class Settlement fund. The fund is a joint fund because there is another class
action lawsuit being settled against Mecca Farms for the workers who cultivated and harvested
vegetables on Mecca’s operations with the contractors Roy Rodriguez, Maria Sanchez, and M.
Sanchez & Son, lnc. between August 1, 1997 and November 19, 2001.

6. What will workers get under the settlement?

All workers who were employed by Maria Medrano, Medrano Harvesting & Packing, lnc.,
Candido Munoz, A-Z Grading & Packing, lnc., Candido Packing, lnc., or Candido Munoz, lnc. to
work in Mecca Farms’ packing houses between August 1997 and March 2002 may be eligible to
share in the settlement fund. Each eligible worker will receive $4.00 per day for work in the Tomato
Packing House and $3.00 per day for work in the Pepper Packing House. lf there is verifiable proof
that the social security (FICA) taxes were paid for every day worked, the claimant will receive 50%
less per day than otherwise provided for. The worker will also have provide identification and proof
of employment with the Defendants.

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 19 of 26

7. Who else gets money from the settlement?

ln addition, Twenty Five Thousand Dollars ($25,000.00) will be donated to one or more non-profit
social service agencies which serve farmworkers in Martin County or Palm Beach County. Mecca
Farms is also paying the Florida Legal Services Migrant Farmworker Justice Project, the lawyers
for the workers in this case an additional $200,000.00 to pay the costs and fees they incurred to bring
the two cases (for the field workers and the packing house workers). The $200,000.00 is separate
from and in addition to what the workers will receive.

8. What are mv rights as a member of the “class"?

As a member of the class, you are eligible to receive money from the settlement. By receiving the
money you are also giving up your rights to bring a separate claim against Mecca Farms, lnc., Maria
Medrano, Medrano Harvesting & Packing, lnc., Candido Munoz, A-Z Grading & Packing, lnc.,
Candido Packing, lnc., or Candido Munoz, lnc. for having violated the specific laws which are
alleged in the lawsuit during the time period from October 1996 through March 2002.

9. How do l make a claim as a class member?
TO CLAIM YOUR CLASS MONEY YOU MUST:

FILL OUT A CLAIM F()RM BEFORE FEBRUARY 1. 2004. TO OBTAIN A CLAIM FORM
CALL FLORIDA LEGAL SERVICES FARMWORKER JUSTICE PROJECT AT 1-800-277-
7447 OR GO TO lTS OFFICE A'I` 508 LUCERNE AVENUE, LAKE WOR'I`H, FLORIDA
33460 MONDAY THROUGH FRIDAY BETWEEN 8:30 AM AND 5:00 PM.

lf you fail to make a claim and you do not “opt-out” as described in paragraph 10, you are giving
up your rights to ever bring an action against Mecca Farms, lnc., Maria Medrano, Medrano
Harvesting & Packing, lnc., Candido Munoz, A-Z Grading & Packing, lnc., Candido Packing, lnc.,
or Candido Munoz, lnc. for the claims alleged in the lawsuit which occurred between October 1996

through March 2002.

10. How do l opt-out of this class action?

lf you do NOT want to participate in the class action, you have the right to be excluded from the
class and not receive any money from the settlement. lf you choose to be excluded from the class,
you will NEVER be able to make any claim for this settlement money; however, you may have the
right to bring your own lawsuit against Mecca Farms, lnc., Maria Medrano, Medrano Harvesting
& Packing, lnc., Candido Munoz, A-Z Grading & Packing, lnc., Candido Packing, lnc., or Candido
Munoz, lnc. within the time period allowed under the law for the claims alleged in the lawsuit. If
you decide to opt-out, you must do so before July 1, 2003. lf you fail to opt-out by July 1, 2003,
you are giving up your right to be excluded from the class, which means that you can not bring a
separate law suit for the same claims alleged in the current law suit for the time period of October
1996 through March 2002. lf you fail to opt-out you will be bound by the settlement agreement and
are eligible to file a claim for the settlement money. To be excluded from the class action you must
call the Florida Legal Services Farmworker Justice Project at 1-800-277-7447 or go to its office at

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Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 20 of 26

508 Luceme Avenue, Lake Worth, Florida 33460 Monday through Friday between 8:30 PM and
5:00 PM to fill out a form stating your desire to be excluded from the class lf you choose to “opt-
out” of the class action, you should consult a lawyer as to your rights

11. What if l think the settlement agreement is unfair?

There will be a hearing before Judge Donald Middlebrooks at on , 2003, at the
United States Courthouse, 701 Clematis Street, West Palm Beach, Florida 33401 to decide whether
the settlement is fair, reasonable and adequate lf you want to object to the settlement you must file
your objection with the Clerk of the Court before , 2003. If you do write the Clerk at the
United States Courthouse, 701 Clematis Street, West Palm Beach, Florida 33401, you should
include in your letter the name of the case (Martinez v. Mecca Farm4s lnc.) and the case number (01-
9096). You must also send a copy of your objections to Henry Wulf, Esq., Carlton Fields, 222
Lakeview Avenue, Suite 1400, West Palm Beach, FL 33401, one of the attorneys for Mecca. This
hearing will be your only opportunity to object to the terms of the settlement.

You do n_ot have to be present at the hearing to receive your class share of the settlement
money. If you fill out the form claiming your share of the settlement, you will receive your
class share, provided the settlement is approved,

12. For further information:
lf you have questions about the settlement, need help understanding this Notice, or wish to obtain
a complete copy of the Settlement Agreement you can contact the lawyers for the workers who
brought the lawsuit by writing or calling:

Florida Legal Services

Migrant Farmworker Justice Project

508 Lucerne Avenue

Lake Worth, FL 33460

Telephone: 1-800-277-7447

DO NOT CALL THE COURT OR THE CLERK OF THE COURT

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 21 of 26

EXHIBIT D

FlELD CLASS RADIO NOTICE - Carranza v. Mecca Farms11nc

Attention all persons who have worked in the fields with the contractors Roy Rodriguez, Maria
Sanchez, or M. Sanchez & Son, lnc.. lf you worked cultivating and harvesting vegetables
between 1997 and 2001 you may be eligible to claim money in a lawsuit filed against the
contractors and the farm.

ln the lawsuit, the workers arc claiming that they were not paid the minimum wage because,
among other things_, they were not paid for all the buckets of produce they picked and were
subject to unlawful deductions

l f you Want to claim money from this case against Roy Rodriguez, Maria Sanchez, and the farm
where they worked, call Florida Legal Services at 1-800-277-7447 or go to its office at 508
Luceme Avenue, Lake Worth, Florida. You should also contact Florida Legal Services at 1-800-
277-7447 if you want to know more about the settlement or do not want to be part of the case
The call, 1-800-277-7447, is toll free.

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 22 of 26

EXHIBIT E
PACKING HOUSE CLASS RADIO NOTICE - Martinez v. Mecca Farms, lnc.

Attention all persons who have worked for Maria Medrano and Candido l\/lunoz in packing
houses in Lantana, Florida between 1997 and 2002; you may be eligible to claim money in a
lawsuit filed against the company. The packing house workers are claiming that they were not
paid for all the hours worked or for overtime pay.

lf you want to claim money from this case against Maria Medrano and Candido Munoz for
packing vegetables at packing houses in Lantana, Florida, call Florida Legal Services at 1-800-
277-7447 or go to its office at 508 Luceme Avenue, Lake Worth, Florida. You should also
contact Florida Legal Services at 1-800-277-7447 if you want to know more about the settlement
or do not want to be part of the case The call, 1-800-277-7447, is toll free.

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 23 of 26

EXHIBIT “F”
SETTLEMENT AGREEMENT WITH PLAINTIFFS AND
DEFENDANTS M. SANCHEZ & SON, INC. AND MARIA T. SANCHEZ

WHEREAS Delma Luz-Carranza, Francelia Hernandez, Virginia Perez. Carlos Ramos,
Adolfo Perez, Gloria Roblero , David Matias, and Rafael Gonzalez (hereafter "the Plaintiffs")
have filed this action against, among others Defendants Maria T. Sanchez and M. Sanchez &
Son, lnc. (hereafter "Sanchez" and “M. Sanchez” respectively), alleging violations of the
Migrant and Seasonal Agricultural Worker Protection Act. 29 U.S.C. §§ 1 801, e_t Yg_., and the
minimum wage provisions of the Fair Labor Standards Act, 29 U.S.C. §206(a), during the period
between 1997 through 2001, inclusive, and

WHEREAS. the Plaintiffs and Sanchez and M. Sanchez desire to amicably and
completely resolve the disputes between them without additional delay, expense and litigation,
and

WHEREAS, the Plaintiffs and Sanchez and M. Sanchez are satisfied that the terms and
conditions of this Settlement Agreement set forth hereafter are fair, reasonable and adequate,

NOW, THEREFORE, it is stipulated and agreed by and between the Plaintiffs and
Sanchez and lvl. Sanchez as follows:

1. Consideration for Settlement. Sanchez and M. Sanchez agree to the following
conditions and terms as settlement of this matter:

A. Assignment of sums held by Mecca Farms, lnc. Sanchez and M. Sanchez agree

to assignlto the Plaintiffs any and all sums held in trust or otherwise due and

owing to them by Mecca Farms, lnc. (“l\/lecca”) for services provided prior to

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Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 24 of 26

June l, 2002. These sums shall be used to pay damages to the Plaintiffs and the
members of the putative class. in amounts in accordance with the settlement terms
in the Joint Settlement Agreement with Mecca.

B. Provision of records Sanchez and M. Sanchez agree to provide to counsel for
the Plaintiffs any and all records in their possession, custody or control relating to
his work for or services they have provided to Mecca between 1997 through 2001,
inclusive These documents shall be made available upon request by counsel for
the Plaintiffs and are provided for use in establishing the claims of the Plaintiffs
and the members of the class in this litigation Upon conclusion of the Claims
Period, as defined in the Joint Settlement Agreement with Mecca, these records
shall be returned to Sanchez and M. Sanchez.

C. Social Security Taxes. Sanchez and M. Sanchez agree to file W-2 forms or
amended W-2 forms with the government for the class representatives and class
members who were employed by them between August 1997 and November
2001, inclusive and who request such filing. Plaintiffs’ counsel will identify the
individuals who require the W-2 forms or amended W-2 forms to be filed and
provide the appropriate information to Sanchez and M. Sanchez who shall then
file the W-2s and remit evidence of such to Plaintiffs’ counsel.

2. Waiver and Release. ln consideration of the performance of the obligations set out in

Paragraph 1 of this Settlement Agreement, the Plaintiffs hereby agree to dismiss with prejudice
all claims presently pending against Sanchez and M. Sanchez in this action, This dismissal is

based on the information gathered in the course of this litigation regarding Sanchez and M.

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 25 of 26

Sanchez’s status under the Migrant and Seasonal Agricultural Worker Protection Act and the F air
Labor Standards Act, their assets, their culpability under the AWPA and the FLSA and the
culpability, assets and liability of the other Defendants in this action,

3. Costs and Attomev's Fees. The parties to this Settlement Agreement shall bear their

 

own costs and attorney's fees

4. Enforcemcnt of Agreement. The parties to this Settlement Agreement agree to take all

 

steps necessary to fully consummate all provisions of this Settlement Agreement. Should any
party fail to materially comply with the provisions of this Settlement Agreement, that party shall
be responsible for the costs incurred in enforcement of this Settlement Agreement, including a
reasonable attorney's fee. Prior to undertaking any such enforcement action pursuant to this
paragraph, the party seeking enforcement shall provide at least 20 days written notice to counsel
for the opposing party, so as to permit the party to cure any breach.

5. Authorization. Counsel for the Plaintiffs represents that they are authorized, as their
counsel and agent for purposes of this matter, to enter into this Settlement Agreement on behalf
of the Plaintiffs

6. Approval of Settlement. After the combined Faimess Hearing on this settlement and
the Joint Settlement Agreement with Mecca, currently scheduled for April 1, 2003, Plaintiffs
shall move to dismiss with prejudice this action against Sanchez and M. Sanchez. lf the Court
does not approve this settlement, it shall be considered null and void, and the parties shall be

returned to the positions they held in this matter prior to this agreement

Case 9:01-cV-09013-KLR Document 130 Entered on FLSD Docket 03/14/2003 Page 26 of 26

lN WITNESS WHEREOF, the parties by their counsel have signed this Settlement

Agreement.

Dated thisl_ § l gday of March 2003

11 b
Mari T. anc ez
lndiv dually and as
Presi nt of

lvl. Sanchez & Son, lnc

 

 

 

  
  
  

      

D . Bos ell, Esq.
Akers & Boswell, P.A.

2875 South Ocean Boulevard, Suite 200
Palm Beach, FL 33480

Facsimile: 561-547-3955

Attomey for Maria T. Sanchez
and M. Sanchez & Son, lnc.

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@athleen D. Caron

Florida Bar No. 0468266
Gregory S. Schell

Florida Bar No. 287199

Lillian Hirales

Florida Bar No. 533777

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Email: greg@floridalegal.org

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Attomeys for Plaintiffs

